        Case 3:23-cv-02120-RK-TJB Document 22 Filed 04/02/24 Page 1 of 1 PageID: 338

                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY
                                     MINUTES OF PROCEEDINGS


OFFICE: TRENTON                                   DATE: APRIL 2, 2024
JUDGE: ROBERT KIRSCH
COURT REPORTER: CAROL FARRELL


TITLE OF CASE:                                    CIVIL NO. 23-CV-2120 (RK) (DEA)

CASTRO
v.
REISER ET AL

APPEARANCES:
John Anthony Castro, Pro Se Plaintiff
Jeffrey Leonard, Esq., counsel for Defendants

NATURE OF PROCEEDINGS: TELEPHONE CONFERENCE
Parties review case status.




Time Commenced: 11:03 a.m.
Time Adjourned: 11:05 a.m.
Total Time:     2 minutes


                                                           Patricia Markey
                                                         COURTROOM DEPUTY
